Case 2:21-cv-01232-GRB-ST Document 21 Filed 02/18/22 Page 1 of 1 PageID #: 112



                                      Attorneys at Law
                    45 BROADWAY, SUITE 430, NEW YORK, NEW YORK 10006
                          TEL: (212) 248-7431 FAX: (212) 901-2107


                                                                     February 18, 2022

VIA ECF
Hon. Steven Tiscione
United States Magistrate Judge
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

         Re: Jane Doe v. Long Island Motors and David Delvecchio
             Dkt. No. 21-cv-1232 (GRB)(ST)

Your Honor:

        This office represents Plaintiff, Jane Doe, in the above-referenced action. Plaintiff writes
per the Court’s Order dated January 14, 2022 to identify witnesses and a general description of the
expected testimony. Plaintiff identifies:

   •   Plaintiff
           o Plaintiff will testify regarding liability and damages. Plaintiff will testify regarding
               the sexual harassment she endured working at Defendant Long Island Motors by
               Defendant David Delvecchio. Plaintiff will also testify regarding the damages she
               suffered including economic damages and emotional distress.
   •   Plaintiff’s mother
           o Plaintiff’s mother will testify regarding emotional distress damages suffered by
               Plaintiff as a result of Defendants’ conduct.


       Plaintiff thanks the Court for its time and consideration of the herein request.


                                                      Respectfully submitted,


                                                             /s/
                                                      Joshua M. Friedman, Esq.
